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                     IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

COREY BATCHELOR,                                   )
                                                   )
       Plaintiff,                                  )       Case No.
                                                   )
       v.                                          )
                                                   )
CITY OF CHICAGO; special representative            )
for ROBERT RICE, deceased;                         )
MICHAEL BOSCO; special representative              )
for LAWRENCE NITSCHE, deceased;                    )       JURY TRIAL DEMANDED
THOMAS KEOUGH; DANIEL McWEENY;                     )
FNU McGOVERN; JAMES McCARDLE;                      )
ROBERT TOVA; GEORGE WINISTORFER;                   )
ROBERT FLOOD; and as-yet UNKNOWN                   )
OFFICERS OF THE CHICAGO POLICE                     )
DEPARTMENT,                                        )
                                                   )
       Defendants.                                 )

                                        COMPLAINT

       NOW COMES Plaintiff, COREY BATCHELOR, by his attorneys, LOEVY & LOEVY

and the MANDEL LEGAL AID CLINIC of the University of Chicago Law School, and

complaining of Defendants, CITY OF CHICAGO; special representative for ROBERT RICE,

deceased; MICHAEL BOSCO; special representative for LAWRENCE NITSCHE, deceased;

THOMAS KEOUGH; DANIEL McWEENY; FNU McGOVERN; JAMES McCARDLE;

ROBERT TOVAR; GEORGE WINISTORFER; ROBERT FLOOD; and as-yet UNKNOWN

OFFICERS OF THE CHICAGO POLICE DEPARTMENT, states as follows:

                                      INTRODUCTION

       1.      In the wake of the brutal murder of a retired Chicago Police Department officer’s

wife, the individual Defendants – all Chicago Police Department officers – ignored their vow to

serve and protect all Chicago citizens and, instead, used physical violence and psychological



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coercion to force Plaintiff Corey Batchelor into confessing to a crime he did not commit. The

individual Defendants used similar tactics and received similar results with respect to Mr.

Batchelor’s friend, Kevin Bailey. At the time, Mr. Batchelor was a mere nineteen years old, had

no criminal history and no chance of withstanding the abhorrent abuse inflicted upon him by the

individual Defendants. The individual Defendants’ physical violence took the form of punching,

kicking, choking and banging Mr. Batchelor’s head into a wall, while their psychological

coercion included sleep deprivation, isolation from family and access to counsel, an interrogation

process that lasted over twenty-four hours, death threats, and false promises of leniency.

Notably, at no time did the individual Defendants have a single piece of physical evidence from

the crime scene tying Mr. Batchelor or Mr. Bailey to the murder, and, in fact, the physical

evidence excluded them as individuals who were at the scene. The tactics and methods utilized

by the individual Defendants were part of Defendant City of Chicago’s longstanding policies and

practices for the Chicago Police Department, wherein police officers and detectives used

violence and psychological manipulation to falsely implicate innocent persons in crimes and

cover up that conduct through the use of false police reports and a “code of silence.” Due to

Defendants’ conduct, Mr. Batchelor languished fifteen years in Illinois prison for a crime he did

not commit. Refusing to accept the fate Defendants chose for him, Mr. Batchelor continued to

fight to prove his innocence. Finally, in January 2018, in the wake of overwhelming evidence of

Mr. Batchelor’s innocence, the State dismissed all of the charges against Mr. Batchelor, and the

Circuit Court of Cook County, Illinois vacated his conviction.          Mr. Batchelor files this

Complaint seeking justice for the wrongs Defendants inflicted upon him with impunity.




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                                        JURISDICTION

        2.      This action is brought pursuant to 42 U.S.C. § 1983 to redress the deprivation

under color of law of Mr. Batchelor’s rights as secured by the United States Constitution.

        3.      This Court has jurisdiction for Mr. Batchelor’s constitutional claims pursuant to

28 U.S.C. § 1331 and supplemental jurisdiction for his state law claims pursuant to 28 U.S.C. §

1367. Venue is proper under 28 U.S.C. § 1391(b). The events giving rise to this Complaint

occurred in this judicial district.

                                         THE PARTIES

        4.      Plaintiff Corey Batchelor is a 49-year-old, African American resident of Chicago,

Illinois. At the time of his arrest, Mr. Batchelor was nineteen years old and lived with his family

in Chicago’s Washington Heights neighborhood.

        5.      Defendant City of Chicago is an Illinois municipal corporation and is and/or was

the employer of each of the individual Defendants described in paragraphs 6 through 16, below.

The City of Chicago is responsible for the policies and practices of the Chicago Police

Department.

        6.      Defendant special representative for Robert Rice (hereinafter, “Defendant Rice”

or “Rice”), to be subsequently appointed by the Court, is named because, upon information and

belief, Robert Rice is deceased. At all times relevant to this Complaint, Robert Rice was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant Rice in his individual capacity.

        7.      At all times relevant to this Complaint, Defendant Michael Bosco was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law



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and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant Bosco in his individual capacity.

       8.      Defendant special representative for Lawrence Nitsche (hereinafter, “Defendant

Nitsche” or “Nitsche”), to be subsequently appointed by the Court, is named because, upon

information and belief, Lawrence Nitsche is deceased. At all times relevant to this Complaint,

Lawrence Nitsche was a police officer or was otherwise employed by the Chicago Police

Department, acting under color of law and within the scope of his employment in connection

with the investigation of the murder at issue. Mr. Batchelor brings suit against Defendant

Nitsche in his individual capacity.

       9.      At all times relevant to this Complaint, Defendant Thomas Keough was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant Keough in his individual capacity.

       10.     At all times relevant to this Complaint, Defendant Daniel McWeeny was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant McWeeny in his individual capacity.

       11.     At all times relevant to this Complaint, Defendant FNU McGovern was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Among other things, according to a June 7, 1989 General Progress Report related to Ms.

Woods’ murder and bearing Defendant McGovern’s name as a reporting officer, Defendant




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McGovern interviewed Mr. Batchelor and Mr. Bailey on or about that date. Mr. Batchelor

brings suit against Defendant McGovern in his individual capacity.

       12.     At all times relevant to this Complaint, Defendant James McCardle was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant McCardle in his individual capacity.

       13.     At all times relevant to this Complaint, Defendant Robert Tovar was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant Tovar in his individual capacity.

       14.     At all times relevant to this Complaint, Defendant George Winistorfer was a

police officer or was otherwise employed by the Chicago Police Department, acting under color

of law and within the scope of his employment in connection with the investigation of the

murder at issue. Mr. Batchelor brings suit against Defendant Winistorfer in his individual

capacity.

       15.     At all times relevant to this Complaint, Defendant Robert Flood was a police

officer or was otherwise employed by the Chicago Police Department, acting under color of law

and within the scope of his employment in connection with the investigation of the murder at

issue. Mr. Batchelor brings suit against Defendant Flood in his individual capacity.

       16.     Defendants as-yet-unknown law enforcement officers of the Chicago Police

Department were police officers or were otherwise employed by the Chicago Police Department,

acting under color of law and within the scope of their employment in connection with the




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investigation of the murder at issue. Mr. Batchelor brings suit against each officer described in

this paragraph in his individual capacity.

       17.     The officers described in paragraphs 6 through 16 of this Complaint are

collectively referred to as the “Defendant Officers.”

                                             FACTS

                              The Crime and Initial Investigation

       18.     On June 1, 1989, Lula Mae Woods was the wife of retired Chicago Police

Department Officer Thomas Woods and lived at 9310 South Union Street, Chicago, Illinois.

       19.     Sometime before 2:15 p.m. on June 1, 1989, Ms. Woods withdrew money from a

First National Bank of Evergreen Park branch office located in Chicago, Illinois.

       20.     On June 1, 1989, at approximately 2:15 p.m., one of Ms. Woods’ neighbors

observed Ms. Woods lying on the floor of her open garage at her home on South Union Street

with blood on her clothing and called the police.

       21.     Shortly after the neighbor contacted the police, Chicago Police Department

officers arrived at Ms. Woods’ home and found her unconscious, lying on her back in a pool of

blood. Ms. Woods’ body lay on top of a Domino’s Pizza hat (the “Domino’s Hat”). Next to her

body was a black purse strap that appeared to have been cut and a white bloody towel.

       22.     It appeared to the officers that Ms. Woods had been stabbed and was dead. The

officers called for additional assistance.    Chicago Police Department detectives, including

Defendants Rice, Bosco and Nitsche, arrived on the scene and began to investigate Ms. Woods’

murder.

       23.     Subsequent investigation revealed that Ms. Woods had been stabbed multiple

times and had died from the wounds.



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       24.      On or about June 1, 1989, the detectives and other police officers searched the

area around Ms. Woods’ home and found: (a) a black handbag belonging to Ms. Woods that

contained various items; (b) a First National Bank of Evergreen Park bank book and plastic

cover belonging to Ms. Woods; (c) First National Bank of Evergreen Park deposit slips also

belonging to Ms. Woods; and (d) a bloody, six-inch steak knife with a wooden handle.

                                      The Forensic Evidence

       25.      Various suitable prints were recovered from the items found in the above-

described handbag recovered near the crime scene.

       26.      A shaft of dark brown hair and a shaft of brown to dark brown hair were

recovered from the bloody towel.

       27.      A fragment of brown to dark brown human hair was recovered from inside the

Domino’s Hat.

       28.      At no time did any of the forensic evidence connect Mr. Batchelor or Mr. Bailey

to Ms. Woods’ murder. Neither Mr. Batchelor nor Mr. Bailey had anything to do with the crime.

Both are completely innocent.

                The Defendant Officers Sought to Quickly Resolve the Murder

       29.      Because Ms. Woods was the wife of a retired Chicago Police Department officer,

the Defendant Officers set out to quickly find her killer or killers.

       30.      The Defendant Officers chose to disregard physical and forensic evidence and,

instead, resorted to physical violence, psychological abuse and other egregious misconduct to

coerce false confessions out of Mr. Batchelor and Mr. Bailey.




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Various Sources Pointed to Larry Johnson as Ms. Woods’ Killer

       31.       Defendants set their sights on Mr. Batchelor as a suspect in Ms. Woods’ murder

as a result of uncorroborated statements made by a person named Larry D. Johnson.

       32.       At the time Johnson pointed the finger at Mr. Batchelor, there had been numerous

reports that Johnson was involved in the murder, which reports were known to various

Defendant Officers, including Defendants Bosco and Keough.

       33.       At the time the Defendant Officers set their sights on Mr. Batchelor, he was

inexperienced with the criminal justice system or the policies and practices implemented by

Defendant City of Chicago and utilized by the Chicago Police Department to coerce false

confessions.

       34.       On information and belief, Johnson was an alcoholic, drug addict and known liar.

       35.       Based on the information Defendants Bosco and Keough – among other

Defendant Officers – claimed to have learned from Johnson, they decided to pin the murder on

Mr. Batchelor.

       36.       Despite having no probable cause, on or about June 6, 1989, during the early

afternoon, Defendants Bosco and Keough – among other Defendant Officers and Chicago Police

Department officers – took Mr. Batchelor into custody near his home in Chicago, Illinois, and

transported him to the Chicago Police Department’s Area Two Violent Crimes Detective

Division (“Area Two”).

                             Mr. Batchelor’s Custodial Interrogation

       37.       At Area Two, Mr. Batchelor was placed in an interrogation room with no clocks

or outdoor-facing windows and was subjected to an interrogation process at that location and

another location within the Chicago Police Department that lasted over twenty-four hours.



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          38.   At all times during the interrogation, Mr. Batchelor was in custody and not free to

leave.

          39.   Throughout much of Mr. Batchelor’s unduly protracted interrogation, Mr.

Batchelor repeatedly told the interrogating Defendant Officers – including Defendants Rice,

Bosco, Nitsche, Keough, McWeeny, McGovern and Tovar – that he was innocent and did not

know any details about Ms. Woods’ murder, which was true.

The Coercive Tactics

          40.   Unable to elicit a confession from Mr. Batchelor through the use of legitimate law

enforcement techniques, the Defendant Officers – including Defendants Rice, Bosco, Nitsche,

Keough, McWeeny, McGovern and Tovar – resorted to the use of physically and

psychologically coercive tactics consistent with the policies and practices approved by

Defendant City of Chicago.

          41.   Among the physically and psychologically coercive tactics employed by the

Defendants Officers – including Defendants Rice, Bosco, Nitsche, Keough, McWeeny,

McGovern and Tovar – were the following:

                      Physical violence, including choking, punching and kicking Mr.
                       Batchelor, and banging his head against the wall of the interrogation room;

                      Sleep deprivation, including deliberate actions to make sure that Mr.
                       Batchelor could not fall asleep, such as banging on the interrogation room
                       table;

                      The use of a so-called “good cop” – namely, Defendant Nitsche – who
                       pretended to befriend Mr. Batchelor and offered to help stop the physical
                       violence by encouraging Mr. Batchelor to tell the “bad cops” what they
                       wanted to hear – knowing that Mr. Batchelor could not truthfully provide
                       that information; and

                      Psychological coercion, including –

                       o       yelling at Mr. Batchelor;


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                       o       repeatedly calling Mr. Batchelor a liar and falsely claiming they
                               had proof he was lying;

                       o       threatening that if Mr. Batchelor did not tell the truth they would
                               kill him, or he would wish he was dead;

                       o       isolating Mr. Batchelor from his family;

                       o       subjecting Mr. Batchelor to a staged polygraph examination,
                               knowing that Defendant Tovar – the person conducting the exam –
                               would inform Mr. Batchelor that he had “failed” the exam;

                       o       using the “results” of the polygraph examination to manipulate Mr.
                               Batchelor and break down his will to resist the Defendant Officers’
                               pressure to get him to confess to a crime the Defendant Officers
                               knew he did not commit;

                       o       repeatedly feeding Mr. Batchelor details of the murder ; and

                       o       falsely promising leniency to Mr. Batchelor if he told the
                               Defendant Officers what they wanted to hear – namely, that he and
                               Kevin Bailey were involved in the murder at issue.

       42.     In contrast to the Defendant Officers, who engaged in the above-described

coercive interrogation techniques with impunity and pursuant to the policies and practices of

Defendant City of Chicago, Mr. Batchelor was a vulnerable and frightened teenager, who was

inexperienced with any criminal justice system, let alone the corrupt one put in place by

Defendant City of Chicago.

       43.     The Defendant Officers’ outrageous behavior terrified Mr. Batchelor, as it became

increasingly clear to him during the interrogation that the Defendant Officers were not interested

in the truth. The Defendant Officers convinced Mr. Batchelor that his failure to provide the

information they wanted to hear would result in extreme physical harm or death.

       44.     Knowing Mr. Batchelor’s vulnerabilities, the Defendant Officers preyed on him –

their own experiences, and the experiences of their colleagues, having taught them that their

coercive tactics would result in a false confession.


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The Polygraph Examination

       45.     As alleged above, as part of the Defendant Officers’ coercive tactics, they

subjected Mr. Batchelor to a polygraph examination, knowing that its only purpose was to

manipulate Mr. Batchelor into providing a false confession.

       46.     On or about June 6, 1989, during the late evening, and after Mr. Batchelor had

already been in custody for approximately eight hours and subjected to both physical violence

and psychological coercion, Defendants Winistorfer and Flood transported Mr. Batchelor to

Chicago Police Department Headquarters where Defendant Tovar subjected Mr. Batchelor to a

lengthy, staged polygraph examination.

       47.     As part of the Defendant Officers’ coercive interrogation tactics, Defendant Tovar

strapped Mr. Batchelor to the polygraph machine for more than two hours in order to manipulate

and scare Mr. Batchelor and further break down his will to resist.

       48.     Defendants Tovar, Winistorfer and Flood conspired to fabricate, and fabricated,

police reports related to the sham polygraph examination.

       49.     On or about June 7, 1989, in or around the early morning, Mr. Batchelor was

transported back to the Area Two interrogation room where various Defendant Officers –

including, Defendants Rice, Bosco, Nitsche, McWeeny and McGovern – continued their

coercive tactics – which at this point included utilization of the results of the sham polygraph

examination – to get Mr. Batchelor to confess to a crime he did not commit.

       50.     At the time Mr. Batchelor returned to Area Two, he had been in custody

overnight, and for approximately twelve hours, and had not been allowed to sleep.




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                              Kevin Bailey’s Coerced Confession

       51.     On or about June 7, 1989, during the morning, Defendant Officers, including

Defendant McWeeny, took Mr. Bailey into custody and brought him to Area Two for

questioning.

       52.     For over ten hours, various Defendant Officers, including Defendants Rice,

Nitsche and McCardle, used coercive interrogation tactics, including physical violence,

psychological abuse and a sham polygraph examination – similar to the circumstances under

which the Defendant Officers conducted Mr. Batchelor’s polygraph examination – to get Mr.

Bailey to confess to a crime he did not commit.

       53.     Scared and fearing continued physical abuse by the Defendant Officers, on or

about June 7, 1989, during the early evening, Mr. Bailey falsely confessed that he and Mr.

Batchelor killed Ms. Woods.

       54.     Prior to Mr. Bailey making his false confession, and in an effort to make it appear

truthful, the Defendant Officers, including Defendants Rice and Nitsche, fed Mr. Bailey facts

about Ms. Woods’ murder.

       55.     Prior to Mr. Bailey’s false confession, and to prevent detection of the verbal and

physical abuse they inflicted on Mr. Bailey, Defendant Officers did not record any portion of

their coercive interrogation of Mr. Bailey.

       56.     Defendants Rice, Nitsche, and McArdle created false and fabricated police reports

stating that Mr. Bailey had voluntarily confessed to the murder of Ms. Woods, when they knew

he had not. As such, the false confession had no legitimate bearing on probable cause to pursue

criminal charges against Mr. Batchelor or Mr. Bailey, and the Defendants knew it.




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                             Mr. Batchelor’s Coerced Confession

       57.     On or about June 7, 2018, Defendants Rice, Keough and Bosco, among other

Defendant Officers, continued their abusive efforts to coerce a confession out of Mr. Batchelor,

which, at that time, included: (a) representing to Mr. Batchelor that Mr. Bailey had already

admitted that he and Mr. Batchelor committed the murder; (b) punching, kicking and choking

Mr. Batchelor; (c) threatening to kill Mr. Batchelor; (d) not allowing Mr. Batchelor to sleep; and

(e) falsely promising Mr. Batchelor leniency if he confessed.

       58.     At that point, Mr. Batchelor had been in custody for over twenty-four hours.

       59.     Severely sleep-deprived, isolated, terrified of continued physical violence, and

convinced he would be killed if he did not confess, Mr. Batchelor felt compelled to falsely

confess to being involved in Ms. Woods’ murder.

       60.     In preparation for the false confession, the Defendant Officers, including

Defendant Nitsche, fed Mr. Batchelor the facts of Ms. Woods’ murder.

       61.     Only after the Defendant Officers were satisfied that Mr. Batchelor would falsely

confess did they allow him to give a recorded statement, despite knowing that he was not making

the statement voluntarily, but rather as a result of the Defendant Officers’ physical and

psychological abuse. As a result of the Defendant Officers’ physical and psychological abuse,

neither at the time of the time of the recorded statement, nor at any other time that Mr. Batchelor

may have been advised of his Miranda rights, was he capable of understanding them or

competent to provide a knowing waiver.

       62.     Defendants’ improper tactics were intended to, and eventually did, overcome Mr.

Batchelor’s resistance. On or about June 7, 1989, during the evening, Mr. Batchelor’s will was

overborne, and as a result he falsely confessed to being involved in Ms. Woods’ murder.



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          63.   Prior to Mr. Batchelor’s false confession, and to prevent detection of the physical

and psychological abuse the Defendant Officers inflicted on Mr. Batchelor, they did not record

any portion of their coercive interrogation of Mr. Batchelor.

          64.   Mr. Batchelor’s false confession was the product of the Defendant Officers’

physical and psychological abuse, coercion and false promises of leniency.

                     The Defendant Officers’ Continued Coordinated Efforts
                            and Fabrication of Additional Evidence

          65.   The Defendant Officers have never disclosed their misconduct, instead

misrepresenting, concealing and hiding that conduct, and causing it to be misrepresented,

concealed and hidden, as demonstrated by the following:

                a.      The Defendant Officers produced false and fraudulent police reports,

which they signed or on which they provided some other indicia of their official nature, and

inserted them into the case file, knowing the reports would be used as evidence to show Mr.

Batchelor’s purported involvement in Ms. Woods’ murder.

                b.      As alleged above, prior to Mr. Batchelor’s false confession, the Defendant

Officers did not record the numerous hours of Mr. Batchelor’s interrogations, thereby allowing

the Defendant Officers to engage in their physical and psychological abuse without fear of being

caught.

                c.      The Defendant Officers concealed their similar physical and psychological

abuse and coercion of Mr. Bailey, which resulted in his false confession that implicated Mr.

Batchelor.

                d.      The Defendant Officers did not examine all of the prints found on the

various items in Ms. Woods’ handbag, none of which matched Mr. Batchelor or Mr. Bailey,




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providing powerful evidence that someone other than Mr. Batchelor or Mr. Bailey killed Ms.

Woods.

                 e.       On information and belief, the Defendant Officers suppressed and

destroyed additional evidence still unknown to Mr. Batchelor, which evidence would have

shown Mr. Batchelor’s innocence.

                 f.       The Defendant Officers upheld a “code of silence” in which they did not

disclose the improprieties alleged herein – among other known and unknown improprieties – in

order to protect each other and ensure they could continue to engage in their egregious behavior

with impunity.

                      Defendants Ignored Evidence of Mr. Batchelor’s Innocence

       66.       In addition to the affirmative misconduct described in the preceding paragraphs of

this Complaint, the Defendant Officers willfully ignored and acted to undermine evidence that

showed conclusively that Mr. Batchelor and Mr. Bailey had nothing to do Ms. Woods’ murder.

       67.       The Defendant Officers disregarded the fact that none of the physical evidence

collected by crime scene investigators connected Mr. Batchelor or Mr. Bailey to the crime and,

indeed, much of it excluded them as possible individuals who committed the murder, including

the fact that their hair was “dissimilar” from the hairs found in the Domino’s hat and on the

bloody towel.

                                Mr. Batchelor’s Wrongful Conviction

       68.       At all relevant times, the Defendant Officers acted intentionally and with malice,

willfulness and reckless indifference towards Mr. Batchelor’s rights.




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       69.     As a result of the misconduct of the Defendant Officers, Mr. Batchelor was forced

to spend over a year and a half in the Cook County Jail while he awaited trial, stripped of the

freedoms and rights afforded to American citizens.

       70.     As a result of Defendants’ misconduct, Mr. Batchelor was prosecuted for and

convicted of a crime he did not commit. On April 5, 1991, after a bench trial, a Cook County

Circuit Court judge found Mr. Batchelor guilty of first degree murder and armed robbery and

burglary. On April 23, 1991, the judge imposed a thirty-year sentence for the murder conviction

and a ten year sentence for the armed robbery and burglary conviction, to run concurrently with

each other.

       71.     The State’s case hinged upon Mr. Batchelor’s coerced and fabricated confession.

       72.     The State did not present any eyewitness testimony or physical evidence of any

kind linking Mr. Batchelor to the crime.

                The Forensic Evidence Establishes Mr. Batchelor’s Innocence

       73.     While Mr. Batchelor was still serving his sentence, new evidence – DNA,

fingerprint/palm print and details about police misconduct – came to light to establish that he and

Mr. Bailey were innocent.

       74.     Pursuant to 725 ILCS 5/116-3, Mr. Batchelor sought additional forensic testing on

DNA and prints found at or near the crime scene, which the court allowed.

       75.     New analysis of the prints recovered from the various items in Ms. Woods’

handbag established that none of the prints came from Mr. Batchelor or Mr. Bailey and, in

certain instances, did not come from Ms. Woods.

       76.     DNA testing on the hair shafts found on the bloody towel and the hair fragment in

the Domino’s Hat found at the crime scene: (a) excluded Mr. Batchelor, Mr. Bailey and Ms.



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Woods as the source of the DNA; (b) revealed that the hairs came from a man; and (c)

determined that the hair in the hat and the hair on the towel were consistent with each other.

       77.     On January 30, 2018, after a review of Mr. Batchelor and Mr. Bailey’s cases by

Special Assistant Cook County State’s Attorney Robert Milan, the State agreed to dismiss the

charges against both individuals.

       78.     On January 30, 2018, the Circuit Court of Cook County, Illinois vacated Mr.

Batchelor and Mr. Bailey’s convictions.

                        Defendants’ Pattern and Practice of Coercing
                 False Confessions in Order to Secure Wrongful Convictions

       79.     The constitutional violations that caused Mr. Batchelor’s wrongful conviction

were not isolated events. To the contrary, the constitutional violations resulted from Defendant

City of Chicago’s policies and practices of pursuing wrongful convictions by: (a) relying on

coerced statements and profoundly flawed investigations; (b) fabricating inculpatory evidence

and suppressing exculpatory evidence; (c) failing to adequately train, supervise, monitor, and

discipline its police officers; and (d) and maintaining the police code of silence.

       80.     The wrongful convictions of innocent persons involving coerced and false

statements include numerous cases in which Chicago Police Department detectives used the very

same tactics the Defendant Officers employed against Mr. Batchelor and Mr. Bailey, including:

(a) physical abuse; (b) psychological intimidation and manipulation; (c) fabrication of

confessions and other material evidence; (d) sleep deprivation; (e) false promises of leniency in

exchange for “cooperation” in the form of a statement; (f) denial of access to counsel and family;

(g) feeding innocent suspects facts of the crime to be used in a subsequent confession; (h) failing

to record any portion of the interrogation prior to the false confession; (i) suppressing

exculpatory evidence; (j) falsifying police reports and other evidence; (k) using a polygraph

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machine as a prop in interrogations; and (l) using other unlawful tactics to secure the arrest,

prosecution and conviction of persons without regard to their actual guilt.

       81.     Consistent with the municipal policy and practice described in the preceding

paragraph, members of the Chicago Police Department, including but not limited to the

Defendant Officers, systematically suppressed evidence pertaining to these fabricated and

coerced statements, both from the prosecuting attorneys and from criminal defendants.

       82.     The Defendant Officers’ coercion of false statements from Mr. Batchelor and Mr.

Bailey was undertaken pursuant to, and proximately caused by, Defendant City of Chicago’s

policies and practices, as alleged herein.

       83.     Specifically, as alleged in detail below, at the time of Mr. Batchelor and Mr.

Bailey’s interrogations, Area Two detectives were utilizing systemic torture and abuse similar to

that experienced by Mr. Batchelor and Mr. Bailey in connection with many other interrogations.

       84.     Defendant City of Chicago actively encouraged the Defendant Officers to

participate in its unlawful practices of coercing confessions by incentivizing detectives to close

criminal investigations as expediently as possible, without regard to the innocence or guilt of the

individuals arrested and prosecuted. Moreover, Defendant City of Chicago failed to adequately

train, supervise, monitor and discipline Chicago Police Department Officers, condoned a code of

silence that protected offending officers and encouraged officer perjury, and exhibited deliberate

indifference to the constitutional violations described herein.

Pattern and Practice of Torture and Abuse at Area Two

       85.     At various times between 1977 and 1986, Jon Burge held various supervisory

positions within Area Two.




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        86.    In August of 1989, in Wilson v. City of Chicago, No. 86 C 2360 (N.D. Ill.), a

federal jury found that the Chicago Police Department had a policy and practice of “allowing

police officers to torture persons suspected of killing or wounding officers.”

       87.     On November 2, 1990, the Chicago Police Department’s Office of Professional

Standards (“OPS”) Director Gayle Shines approved as “compelling” the findings in a 25-page

report made by OPS Investigator Michael Goldston that identified fifty instances where African

American suspects in the custody of Area Two detectives under Burge’s command were

subjected to torture or other abuse, including the general finding that command personnel

participated in “systematic” torture under Burge. Director Shines forwarded the report and

findings to Chicago Police Department Superintendent LeRoy Martin, Sr.

       88.     In 1999, a United States District Court judge serving in the United District Court

for the Northern District of Illinois found: “It is now common knowledge that in the early to

mid-1980s Chicago Police Commander Jon Burge and many officers working under him

regularly engaged in the physical abuse and torture of prisoners to extract confessions.”

       89.     In her concurring opinion in Hinton v. Uchtman, 395 F.3d 810, 822-23 (7th Cir.

2005), Seventh Circuit Court of Appeals Judge Diane Wood found that a “mountain of evidence

indicates that torture was an ordinary occurrence at the Area Two station of the Chicago Police

Department.”

       90.     In July 2006, a report issued by a judicially-appointed Cook County Special

Assistant State’s Attorney (the “Special Prosecutor’s Report”) concluded that many of the more

than 140 allegations of torture and abuse made by African American men against Burge had

merit and that Burge was “guilty [of] abus[ing] persons with impunity.”               The Special

Prosecutor’s Report further concluded that “it necessarily follows that a number of those serving



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under his command recognized that if their commander could abuse persons with impunity, so

could they.”

       91.     Numerous Chicago City Council Members, during the July 24, 2007 public

hearings on Area Two torture, acknowledged longstanding notice of, and strongly condemned,

the “serial torture operation” and “pattern” of “heinous” “atrocities” at Area Two under Burge

that was “condoned” and “acquiesced in.”

       92.     In 2010, a federal jury found Burge guilty of three counts of perjury based on his

false sworn statements that he did not physically abuse or torture any suspects and was not aware

of any such physical abuse or torture perpetrated by officers under his command.

       93.     In 2015, Defendant City of Chicago passed a Reparations Ordinance and

Resolution, in which it acknowledged its pattern and practice of systematic Chicago Police

torture, physical abuse, and coercion to extract confessions from African Americans in Chicago

Police Department custody at Area Two, between the years of 1972 and 1991.

The Defendant Officers

       94.     The Defendant Officers actively participated in the Chicago Police Department’s

pattern and practice of coercing false confessions and physical abuse. On information and belief,

Defendants Rice, Bosco, Nitsche, Keough, McWeeny, Flood, Winistorfer, and McGovern all

worked under the command of Burge at Area Two.

       95.     Examples of the abuse committed by the Defendant Officers include the

following:

               (a)    In or about November 1987, Defendant Rice engaged in an abusive

interrogation of Robert Smith in connection with a homicide and armed robbery. After Smith

alleged that Defendant Rice and another Chicago Police Department detective physically coerced



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him during an overnight, seventeen-hour custodial interrogation, while also denying him food,

water, sleep and access to an attorney, the lower court suppressed the confession. The lower

court found that Defendant Rice’s testimony to the contrary was not credible. The Illinois

Appellate Court affirmed the ruling.

               (b)     In or about September 1987, a different Robert Smith was interrogated by

Defendants Rice, McWeeny and McGovern, among others, in connection with a double murder.

In pretrial testimony, Smith swore that: (i) Defendant McWeeny beat him in the chest; (ii)

Defendant McGovern choked him and shoved a handkerchief down his throat; and (iii)

Defendant Rice and another detective threatened to “slam [his] n*gg*r * ass all over this room.”

According to Smith, he confessed because he was tired, scared and felt like he had broken ribs.

In 2013, the Torture Inquiry and Relief Commission found Smith’s claim credible based, in part,

on hospital records that substantiated the physical abuse.

               (c)     On November 2, 1983, Chicago Police Department Detectives and Burge

protégés John Byrne and Peter Dignan arrested Darrell Cannon for the murder of Darrin Ross, a

murder he did not commit. En route to Area Two, the detectives informed Cannon that they had

a “scientific way of interrogating niggers,” and that he was in for the “hardest day of his life.”

Once at Area Two, Cannon was handcuffed to a wall. While handcuffed, Defendant Bosco

asked Cannon if he wanted to talk. When Cannon exercised his right to remain silent, Defendant

Bosco opened a brown paper sack and revealed an electric cattle prod. Defendant Bosco assured

Cannon that he would think better of his decision and would talk before the end of the day.

Cannon was then transported to an isolated area on the South Side of Chicago, where Defendant

Bosco, along with Detectives Byrne and Dignan repeatedly pressed the electric cattle prod to

Cannon’s testicles. They also placed what they told Cannon was a loaded shotgun in Cannon’s



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mouth and pulled the trigger three times. When these tactics finally caused Cannon to falsely

confess, Defendant Bosco and the other detectives drove Cannon to an auto pound where he then

recanted his confession. The torture immediately resumed. At that time, Defendant McWeeny

joined in the tortuous activity, which consisted of shoving the cattle prod into Cannon’s mouth

until he, again, agreed to falsely confess. Defendants Bosco and McWeeny and the other two

detectives later perjured themselves in court, denying Cannon was abused.

              (d)     Defendants Bosco and McWeeny were subpoenaed in connection with the

Special Prosecutor’s Report.     The report mentions Defendant Bosco in connection with

allegations of torture made by David Bates and Gregory Banks, among others. Moreover, the

report found that Defendant McWeeny participated in the beating of an individual named

Madison Hobley and played a role in the tortuous interrogations of individuals named Stanley

Howard and Aaron Patterson. The report also concluded that an individual named Melvin Jones

provided truthful information about his claim of a torturous interrogation. Both Defendant

Bosco and Defendant McWeeny were involved in that interrogation, which was led by Burge.

Notably, the report names Defendant McWeeny in connection with eleven of the 107 torture

cases identified within the report. The Torture Inquiry and Relief Commission has referred to

Defendant McWeeny as a “well-known Burge subordinate.”

              (f)     During the 1986 interrogation of Clarence Trotter, Defendant Nitsche

played the role of the “good cop,” as he did with Mr. Batchelor. Defendant Nitsche was present

when a different detective placed a typewriter bag on Trotter’s head and other detectives

punched him. Defendant Nitsche later gave Trotter cigarettes and told him, “I told you things

could get kind of rough . . . . Why don’t you be more cooperative? I really don’t condone acts of

physical violence . . . so to speak.” At that point, Trotter confessed to murder. An appellate



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court found Defendant Nitsche’s conduct during Trotter’s custodial interrogation constituted

“coercive pressures.”

Defendant City of Chicago’s Training, Supervisory, and Disciplinary Practices, and the Police
Code of Silence

       96.     Defendant City of Chicago’s policies and practices for training, supervising,

monitoring, and disciplining its officers, and its code of silence, also caused the Defendant

Officers to believe that they could physically and psychologically abuse Mr. Batchelor and Mr.

Bailey, coerce their false confessions, and cover up what they did – all without fear of discipline.

       97.     As a matter of both policy and practice, municipal policy makers and Chicago

Police Department supervisors condoned and facilitated a code of silence within the Chicago

Police Department. In accordance with this code, Chicago Police Department detectives refused

to report, and otherwise lied about, misconduct committed by their colleagues, including the

misconduct at issue in this case.      Defendant City of Chicago’s training, supervisory, and

disciplinary practices supported this code of silence, by protecting from discipline officers who

engaged in physical and psychological coercion and teaching police officers that they must abide

by the code.

       98.     As a result of Defendant City of Chicago’s established practice of failing to track

and identify police officers who are repeatedly accused of the same kinds of serious misconduct;

failing to properly investigate cases in which the police are implicated in obtaining coerced and

false statements, as well as wrongful charges and convictions; failing to discipline officers

accused of this unlawful conduct; and facilitating a code of silence within the Chicago Police

Department, Chicago Police Department officers (including the Defendant Officers, here) came

to believe that they may violate the civil rights of members of the public and cause innocent

persons to be charged with serious crimes without fear of adverse consequences.

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       99.     Defendant City of Chicago’s failure to train, supervise and discipline its officers

effectively condones, ratifies and sanctions the kind of misconduct that the Defendant Officers

committed against Mr. Batchelor in this case. Constitutional violations such as those that

occurred in this case are encouraged and facilitated as a result of Defendant City of Chicago’s

practices and de facto policies, as alleged above.

       100.    Defendant City of Chicago and officials within the Chicago Police Department

failed to act to remedy the abuses described in the preceding paragraphs, despite actual

knowledge of the pattern of misconduct. They thereby perpetuated the unlawful practices and

ensured that no action would be taken (independent of the judicial process) to remedy Mr.

Batchelor’s ongoing injuries.

       101.    The policies and practices described in the foregoing paragraphs were consciously

approved by Defendant City of Chicago policymakers who were deliberately indifferent to the

violations of constitutional rights described herein.

                                    Mr. Batchelor’s Damages

       102.    Defendants robbed Mr. Batchelor of his hopes and dreams of a better life. As a

result of Mr. Batchelor’s wrongful conviction, he spent fifteen years locked up behind bars, with

the liberties granted to free citizens stripped from him.

       103.    Defendants destroyed Mr. Batchelor’s life without any warning. As of the filing

of this Complaint, more than half of Mr. Batchelor’s life has been consumed by the horror of his

wrongful conviction and imprisonment.

       104.    Because of Defendants’ misconduct, Mr. Batchelor was stripped of his young

adulthood and deprived of all of the basic pleasures of human experience, which all free people




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enjoy as a matter of right, including the freedom to live one’s life as an autonomous human

being.

         105.   In addition to the severe trauma of wrongful imprisonment and Mr. Batchelor’s

loss of liberty, Defendants’ misconduct continues to cause Mr. Batchelor extreme physical and

psychological pain and suffering, humiliation, fear, anxiety, deep depression, despair and other

physical and psychological effects.

                                 COUNT I – 42 U.S.C. § 1983
                                      Coerced Confession
                             (Fifth and Fourteenth Amendments)

         106.   Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

         107.   In the manner described more fully above, the Defendant Officers individually,

jointly and in conspiracy with one another, and others unknown, took Mr. Batchelor into custody

and utilized coercive tactics that preyed on his known vulnerabilities, rendered him unable to

exercise and understand his rights to counsel and to remain silent, and forced him to make false

statements involuntarily and against his will, which statements incriminated him and were used

against him in criminal proceedings, in violation of his rights secured by the Fifth and Fourteenth

Amendments.

         108.   In addition, the Defendant Officers individually, jointly and in conspiracy with

one another, used physical violence and extreme psychological coercion in order to force Mr.

Batchelor to incriminate himself falsely and against his will in a crime he had not committed, in

violation of his right to due process secured by the Fourteenth Amendment. This misconduct: (a)

was so severe as to shock the conscience; (b) was designed to injure Mr. Batchelor; and (c) was

not supported by any conceivable governmental interest.



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       109.    Specifically, the Defendant Officers conducted and participated in an

unconstitutional lengthy interrogation of Mr. Batchelor while he was in custody, using physical

violence and psychological coercion, which overbore Mr. Batchelor’s will and resulted in him

making involuntary statements implicating himself.

       110.    Those incriminating statements were used against Mr. Batchelor to his detriment

throughout his criminal case to deprive him of his liberty – namely, the incriminating statements

were the reason Mr. Batchelor was prosecuted, jailed, convicted and imprisoned.

       111.    The Defendant Officers’ misconduct described in this Count was undertaken

intentionally, with malice, and with deliberate and reckless indifference to Mr. Batchelor’s

clearly established constitutional rights.

       112.    As a result of the misconduct described in this Count, Mr. Batchelor suffered loss

of liberty, great mental anguish, humiliation, degradation, physical and emotional pain and

suffering, and other grievous and continuing injuries and damages as set forth above.

       113.    The misconduct described in this Count by the Defendant Officers was

undertaken pursuant to the policy and practice of Defendant City of Chicago, in the manner more

fully described in Count VII, below.

                                  COUNT II – 42 U.S.C. § 1983
                                    Fabrication of Evidence
                                   (Fourteenth Amendment)

       114.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       115.    In the manner described more fully above, the Defendant Officers deprived Mr.

Batchelor of his constitutional right to due process protected by the Fourteenth Amendment, by

fabricating, among other things: (a) a false confession which was attributed to Mr. Batchelor and



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used against him in his criminal proceedings; (b) one or more false witness statements

implicating Mr. Batchelor in crimes he did not commit, which the Defendant Officers knew to be

false; (c) false polygraph examination results; and (d) false police reports that implicated Mr.

Batchelor in the crime.

         116.   As set forth above, the Defendant Officers used physical violence and

psychological abuse to extract Mr. Batchelor and Mr. Bailey’s false confessions – confessions

that they knew to be false and both of which implicated Mr. Batchelor – and then engaged in

conduct to cover-up their actions. The misconduct described in this Count was undertaken

intentionally, with malice and reckless and deliberate indifference to Mr. Batchelor’s

constitutional rights.

         117.   As a result of the Defendant Officers’ misconduct described in this Count, Mr.

Batchelor suffered loss of liberty, great mental anguish, humiliation, degradation, physical and

emotional pain and suffering and other grievous and continuing injuries and damages as set forth

above.

         118.   The Defendant Officers’ misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago, in the manner more fully described in

Count VII, below.

                                  COUNT III – 42 U.S.C. § 1983
                         Due Process – Suppression of Exculpatory Evidence
                                     (Fourteenth Amendment)

         119.   Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.




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        120.    As described in detail above, the Defendant Officers, while acting individually,

jointly and in conspiracy with one another, deprived Mr. Batchelor of his constitutional right not

to be deprived of his liberty without due process of law.

        121.    In the manner described more fully above, the Defendant Officers deliberately

withheld material exculpatory evidence, including evidence upon which State witnesses could be

impeached, from Mr. Batchelor and from prosecutors, among others, thereby misleading and

misdirecting the criminal prosecution of Mr. Batchelor.

        122.    Specifically, the Defendant Officers deliberately withheld evidence showing: (a)

the false nature of Mr. Bailey’s false and coerced confession; (b) the false nature of the

polygraph examinations administered to Mr. Batchelor and Mr. Bailey, among others; (c) Larry

D. Johnson’s lack of credibility; and (d) the Defendant Officers’ pattern of abuse similar to that

inflicted upon Mr. Batchelor, as well as their pattern of dishonesty.

        123.    The Defendant Officers also suppressed the fabricated nature of the evidence they

presented to the prosecutors responsible for Mr. Batchelor’s prosecution.

        124.    In addition, on information and belief, the Defendant Officers concealed and

fabricated additional evidence that is not yet known to Mr. Batchelor.

        125.    The Defendant Officers’ misconduct directly resulted in the unjust and wrongful

criminal prosecution and conviction of Mr. Batchelor and the deprivation of Mr. Batchelor’s

liberty, thereby denying his constitutional right to due process guaranteed by the Fourteenth

Amendment.

        126.    The Defendant Officers’ misconduct described in this Count was undertaken

intentionally, with malice and reckless and deliberate indifference to Mr. Batchelor’s

constitutional rights.



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       127.    As a result of the misconduct of the Defendant Officers described in this Count,

Mr. Batchelor suffered loss of liberty, great mental anguish, humiliation, degradation, emotional

pain and suffering and other grievous and continuing injuries and damages.

       128.    The Defendant Officers’ misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago, in the manner more fully described in

Count VII, below.

                              COUNT IV – 42 U.S.C. § 1983
               Manuel Claim – Deprivation of Liberty Without Probable Cause
                          (Fourth and Fourteenth Amendments)

       129.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       130.    The Defendant Officers caused Mr. Batchelor to be unreasonably seized,

detained, imprisoned and deprived of his liberty without probable cause to believe that he had

committed a crime, in violation of his rights secured by the Fourth and Fourteenth Amendments

to the United States Constitution.

       131.    The misconduct described in this Count was undertaken pursuant to Defendant

City of Chicago’s policy and practice in the manner more fully described in Count VII, below.

       132.    As a result of this misconduct, Mr. Batchelor lost his freedom and sustained, and

continues to sustain, injuries, including physical injury and sickness and emotional pain and

suffering.

                                 COUNT V – 42 U.S.C. § 1983
                                    Failure to Intervene

       133.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.




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       134.    In the manner described more fully above, by their conduct and under color of

law, during the constitutional violations described herein, one or more of the Defendant Officers

stood by without intervening to prevent the violation of Mr. Batchelor’s constitutional rights,

even though they had the opportunity and duty to do so.

       135.    Defendant Officers’ actions and omissions in the face of a constitutional duty to

intervene were the direct and proximate cause of Mr. Batchelor’s constitutional violations and

injuries, including but not limited to loss of liberty, physical harm and emotional distress.

       136.    The Defendants Officers’ misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago, in the manner more fully described in

Count VII, below.

                                COUNT VI – 42 U.S.C. § 1983
                          Conspiracy to Deprive Constitutional Rights

       137.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       138.    After Ms. Woods’ murder, the Defendant Officers agreed among themselves and

with other individuals to deprive Mr. Batchelor of his constitutional rights, guaranteed by the

Fourth, Fifth, and Fourteenth Amendments, as described in the various paragraphs of this

Complaint. The Defendant Officers conspired to deprive Mr. Batchelor of his liberty, to coerce

him into giving a false confession, and to frame him for the murder of Lula Mae Woods, a crime

the Defendant Officers knew that he did not commit.

       139.    In furtherance of the conspiracy, each of the coconspirators engaged in and

facilitated numerous overt acts, including but not limited to those set forth above – such as

seizing, detaining, and imprisoning Mr. Batchelor without probable cause to believe that he had

committed a crime; fabricating evidence; suppressing or destroying exculpatory evidence;

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coercing false confessions; and committing perjury during trial – and was an otherwise willful

participant in joint activity.

        140.    Each of the Defendant Officers was a voluntary participant in the common

venture to deprive Mr. Batchelor of his Fourth, Fifth, and Fourteenth Amendment rights. Each

of the Defendant Officers personally participated in the unconstitutional conduct or acted jointly

with other defendants who participated or acquiesced in the unconstitutional conduct, or was at

least aware of the conduct or plan, and failed to take action to prevent such conduct from

occurring.

        141.    As a direct and proximate result of the illicit prior agreement and actions in

furtherance of the conspiracy referenced above, Mr. Batchelor’s rights were violated, and he

suffered injuries, including but not limited to loss of liberty, physical harm and emotional

distress.

        142.    The Defendant Officers’ misconduct described in this Count was undertaken

pursuant to the policy and practice of the City of Chicago, in the manner more fully described in

Count VII, below.

                                COUNT VII – 42 U.S.C. § 1983
                     Policy and Practice Claim Against Defendant City of Chicago

        143.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

        144.    As described more fully herein, Defendant City of Chicago is liable for the

violation of Mr. Batchelor’s constitutional rights by virtue of its official policies, as more fully

described in paragraphs 79-101, above.

        145.    The actions of the Defendant Officers were undertaken pursuant to policies,

practices, and customs of the Chicago Police Department, described above, which were

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approved, encouraged, and/or ratified by policymakers for Defendant City of Chicago with final

policymaking authority.

       146.    These policies and practices included the failure to adequately train, supervise,

monitor, and discipline officers who engaged in constitutional violations, as set forth in greater

detail above, pursuing wrongful convictions through reliance on profoundly flawed

investigations and coerced and fabricated confessions, and the police code of silence.

       147.    One or more of the policies, practices, and customs described in this Count was

maintained and implemented by Defendant City of Chicago with deliberate indifference to Mr.

Batchelor’s constitutional rights and was a moving force behind the violations of those rights.

       148.    As a direct and proximate result of the Defendant City of Chicago’s actions and

inactions, Mr. Batchelor’s constitutional rights were violated, and he suffered injuries and

damages, as set forth in this Complaint.

                                COUNT VIII – State Law Claim
                                   Malicious Prosecution

       149.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       150.    The Defendant Officers individually, jointly and in conspiracy, initiated and

continued false criminal charges against Mr. Batchelor without probable cause to believe that he

had committed a crime, and they made statements to prosecutors with the intent of exerting

influence and to institute and continue the judicial proceedings.

       151.    The Defendant Officers, individually, jointly and in conspiracy, caused Mr.

Batchelor to be improperly subjected to judicial proceedings for which there was no probable

cause. These judicial proceedings were instituted and continued maliciously, resulting in injury.




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        152.   At all relevant times, the Defendant Officers knew that the evidence upon which

the prosecutors pursued their case against Mr. Batchelor was coerced and fabricated and that no

true or reliable evidence implicated Mr. Batchelor in Ms. Woods’ murder.

        153.   The Defendant Officers’ actions were intentional, malicious, willful and wanton

and exhibited a deliberate indifference to or reckless disregard for Mr. Batchelor and others’

rights and safety.

        154.   The charges against Mr. Batchelor were terminated in his favor on January 30,

2018.

        155.   As a direct and proximate result of this misconduct, Mr. Batchelor sustained, and

continues to sustain, injuries as set forth above, including pain and suffering.

                                COUNT IX – State Law Claim
                          Intentional Infliction of Emotional Distress

        156.   Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

        157.   The acts and conduct of the Defendant Officers were extreme and outrageous.

The Defendant Officers’ actions were rooted in an abuse of power and authority, and they were

undertaken with an intent to cause, or were in reckless disregard of the probability that their

conduct would cause, severe emotional distress to Mr. Batchelor, as alleged more fully above.

The Defendant Officers’ actions were also willful and wanton.

        158.   As a direct and proximate result of the actions of the Defendant Officers, Mr.

Batchelor suffered and continues to suffer severe emotional distress.




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                                COUNT X – State Law Claim
                                    Civil Conspiracy

       159.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       160.    As described more fully in the preceding paragraphs, the Defendant Officers,

acting in concert with other known and unknown coconspirators, conspired by concerted action

to maliciously prosecute Mr. Batchelor and continue said prosecution, and to intentionally inflict

severe emotional distress on Mr. Batchelor.

       161.    In furtherance of the conspiracy, the Defendants Officers committed the overt acts

set forth above.

       162.    The misconduct described in this Count was undertaken intentionally, with

malice, willfulness and reckless indifference to the rights of others. The Defendant Officers’

actions were also willful and wanton.

       163.    As a direct and proximate result of the Defendant Officers’ conspiracy, Mr.

Batchelor suffered damages, including severe emotional distress and anguish, as is alleged more

fully above.

                                COUNT XI – State Law Claim
                                   Respondeat Superior

       164.    Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

       165.    In committing the acts alleged in the preceding paragraphs, each of the Defendant

Officers was a member of, and agent of, the Chicago Police Department, acting at all relevant

times within the scope of his employment.




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          166.   Defendant City of Chicago is liable as principal for all torts committed by its

agents.

                                 COUNT XII – State Law Claim
                                      Indemnification

          167.   Mr. Batchelor incorporates paragraphs 1 through 105 of the Complaint as if fully

stated here.

          168.   Illinois law – 745 ILCS 10/9-102 – provides that public entities are directed to

pay any tort judgment for compensatory damages for which employees are liable within the

scope of their employment activities.

          169.   The Defendant Officers are or were employees of the Chicago Police Department,

who acted within the scope of their employment in committing the misconduct described herein.

Therefore, Defendant City of Chicago is responsible for any judgment entered against the

Defendant Officers and for any judgment entered against them.

          WHEREFORE, Plaintiff COREY BATCHELOR, respectfully requests that this Court

enter judgment in favor of Plaintiff and against Defendants CITY OF CHICAGO; special

representative for ROBERT RICE, deceased; MICHAEL BOSCO; special representative for

LAWRENCE NITSCHE, deceased; THOMAS KEOUGH; DANIEL McWEENY; FNU

McGOVERN; JAMES McCARDLE; ROBERT TOVAR; GEORGE WINISTORFER; ROBERT

FLOOD; and as-yet UNKNOWN OFFICERS OF THE CHICAGO POLICE DEPARTMENT,

awarding: (a) compensatory damages, attorneys’ fees and costs against each Defendant, jointly

and severally; (b) punitive damages against each of the Defendant Officers because they acted

willfully, wantonly and/or maliciously; and (c) any other relief this Court deems just and

appropriate.




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                                         JURY DEMAND

       Plaintiff, Corey Batchelor, hereby demands a trial by jury pursuant to Federal Rule of

Civil Procedure 38(b) on all issues so triable.

                                              Respectfully submitted,

                                              COREY BATCHELOR

                                       By:    /s/ Scott R. Drury
                                              SCOTT R. DRURY
                                              One of Plaintiff’s Attorneys



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